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                                            MINUTE ORDER                                                    Page 2

                              Magistrate Judge Jonathan Goodman
      Wilkie D. Ferguson, Jr. Courthouse – Courtroom 13-3                                  Time 3:00 p.m.
                                                                                   Date:6/13/23
Defendant: 2) WALTINE NAUTA                    J#: Summons                                 :
                                                                  Case #: 23-80101-CR-CANNON
AUSA: David Harbach, Jay Bratt, & Julie Edelstein Attorney: Stanley Woodward
Violation: Consp to Obstruct Justice, Witholding a Document or Surr Date: 6/13/23 YOB: 1983
          Record, Corruptly Concealing a Document or Record

Proceeding: Initial Appearance                                         CJA Appt:
Bond/PTD Held:      Yes       No         Recommended Bond:
Bond Set at: STIP- Personal Recognizance Release                       Co-signed by:
     Surrender and/or do not obtain passports/travel docs                    Language: English
     Report to PTS as directed/or            x’s a week/month by             Disposition:
     phone:          x’s a week/month in person                              Brady Order given. Defense Counsel
     Random urine testing by Pretrial
     Services                                                                requested a continuance for
     Treatment as deemed necessary                                           Arraignment and Report Re: Counsel.
     Refrain from excessive use of alcohol                                   Counsel is to file a Pro Hac Vice
     Participate in mental health assessment & treatment                     motion. Both sides stipulate to a
     Maintain or seek full-time employment/education                         Personal Recognizance Release-
     No contact with victims/witnesses, except through counsel               Standard Conditions of the Bond 1 & 5
     No firearms                                                             imposed. Special Condition: Fact
     Not to encumber property                                                witnesses on the list provided by the

     May not visit transportation establishments                             Government – No Communication
     Home Confinement/Electronic Monitoring and/or                           about the facts of the case, except
     Curfew          pm to           am, paid by                             through counsel.
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:
                                                                               Time from today to ________ excluded
     Other:                                                                    from Speedy Trial Clock
NEXT COURT APPEARANCE      Date:             Time:            Judge:                          Place:
Report RE Counsel: 6/27/2023 at 9:45am before Chief Magistrate Judge Torres
PTD/Bond Hearing:
Arraignment:                 6/27/2023 at 9:45am before Chief Magistrate Judge Torres
Status Conference RE:
      Stephanie McCarn, Court Reporter                                 Time in Court: 14 mins.
                           s/Jonathan Goodman                                               Magistrate Judge
